Case 2:03-cr-20459-.]PI\/| Document 121 Filed 04/25/05 Page 1 of 3 Page|D 173

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iN THE UNITED sTATEs DISTRICT cOURT
FOR THE wEsTERN DISTRICT OF TENNESSEE 9559£25
wEsTERN DIVISION " P

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OF ‘f`~, M&.¢,-;»§,§
UNITED STATES OF AMERICA

Plaintiff,

Criminal No.Oé_~ '2[>¢'{5¢!_ Ml

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( 6 0 -Day Continuance)

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s} have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the May 2005,

criminal rotation calendar, but is now RESET for report at 9:00

 

a.m. on Fridav, June 24, 2005, with trial to take place on the
July, 2005, rotation calendar with the time excluded under the
Speedy Trial Act through July 15, 2005. Agreed in open court at

report date this 22nd day of April, 2005.

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Case 2:03-cr-20459-.]PI\/| Document 121 Filed 04/25/05 Page 2 of 3 Page|D 174

50 ORDERED this 22nd day of April, 2005.

MMM,

JON PHIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

/M%

As `stant United States Attorney

 

 

 

 

 

 

Counsel for Defendant(s)

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 121 in
case 2:03-CR-20459 Was distributed by faX, mail, or direct printing on
Apri127, 2005 to the parties listed.

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Honorable J on McCalla
US DISTRICT COURT

